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                            United States District Court
                                      for the
                            Southern District of Florida

  Donald Trump, Linda Cuadros, and        )
  American Conservative Union,            )
  Plaintiffs,                             )
                                          ) Civil Action No. 21-22441-Civ-Scola
  v.                                      )
                                          )
  Twitter, Inc. and Jack Dorsey,          )
  Defendants.                             )
             District Court Certification of Constitutional Question
        This matter came before the Court upon Plaintiffs Donald J. Trump,
  Linda Cuadros, and American Conservative Union’s (collectively, “Plaintiffs”)
  Notice of Constitutional Question. (“Notice”) (ECF No. 5).
        The Plaintiffs gave notice that this action raises federal constitutional
  challenges to one or more provisions of federal law. (ECF No. 5.) See 28 U.S.C.
  § 2403(a); Fed. R. Civ. P. 5.1(b). Indeed, the complaint calls into question the
  constitutionality of 47 U.S.C. § 230(c). (ECF No. 1.)
        Pursuant to 28 U.S.C. § 2403(a), the Court must certify to the Attorney
  General any action challenging the constitutionality of an act of Congress. See
  also Ga. Ass’n of Retarded Citizens v. McDaniel, 855 F.2d 805, 811 n.3 (11th
  Cir. 1988) (recognizing that Section 2403 requires that the district court “notify
  the [United States] Attorney General that this case raised a question of [a
  federal statute’s] constitutionality.”)
        Accordingly, after careful consideration, and pursuant to 28 U.S.C. §
  2403(a), the Court hereby certifies to Merrick Garland, Attorney General of the
  United States, that the Plaintiffs have raised such constitutional challenges.
  The Court hereby provides that Mr. Garland is entitled to sixty (60) days from
  the date of this notice to intervene on behalf of the United States in this action.
  See 28 U.S.C. § 2403(a).
        The Clerk of Court is directed to immediately transmit the Notice
  to United States Attorney General Merrick Garland, along with copies of the
  Complaint (ECF No. 1), by certified mail, return receipt requested, at the
  address below.
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        Done and ordered in chambers, at Miami, Florida, on July 21, 2021.

                                            _______________________________
                                            Robert N. Scola, Jr.
                                            United States District Judge

  Copies furnished to:
  Hon. Merrick Garland
  Attorney General of the United States of America
  United States Department of Justice
  950 Pennsylvania Avenue, NW
  Washington, D.C. 20530-0001
